
79 So. 3d 112 (2012)
Michael SANTOS a/k/a Michael Minasian, Appellant,
v.
STATE of Florida, Appellee.
No. 4D10-4810.
District Court of Appeal of Florida, Fourth District.
January 18, 2012.
Rehearing Denied March 1, 2012.
Michael Santos a/k/a Michael Minasian, Lake City, pro se.
No appearance required for appellee.
PER CURIAM.
We affirm with prejudice the summary denial of appellant's untimely postconviction motion. The alleged "newly discovered evidence," that jury selection was not transcribed for the direct appeal in 1994, could have been discovered with due diligence within the two-year time limit. See Fla. R.Crim. P. 3.850(b)(1).
Affirmed.
WARNER, POLEN and DAMOORGIAN, JJ., concur.
